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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 UNITED STATES of AMERICA,

                      Plaintiff,
 v.                                                    Case No. 12‐40012‐02‐RDR

 SEAN WIPFLI,

                      Defendant.



          ORDER EXTENDING TIME FOR FILING PRETRIAL MOTIONS

       The court hereby grants defendant’s motion for extension of time to file pretrial

motions. Pretrial motions are due on March 6, 2012. Responses to pretrial motions are due

March 13, 2012. A hearing on the motions is set for March 21, 2012 at 10:00 a.m. For the

reasons set out in the motion, the Court finds the continuance will not prejudice the parties,

is necessary for the effective defense of Mr. Wipfli, and that the need for a continuance

outweighs the interest of the public and the defendant in a speedy trial, as set out in 18

U.S.C. 3161(h)(8).

       IT IS SO ORDERED this 22nd day of February, 2012.



                                                  s/Richard D. Rogers
                                                  United States District Judge
